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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
                                                          :
                                                                                             11/5/2020
NAACP LEGAL DEFENSE &                                     :
EDUCATIONAL FUND, INC.,                                   :
                                                          :
                                        Plaintiff,        :              18-CV-4433 (VSB)
                                                          :
                      - against -                         :                    ORDER
                                                          :
                                                          :
UNITED STATES DEPARTMENT OF                               :
EDUCATION.                                                :
                                                          :
                                         Defendant. :
----------------------------------------------------------X

VERNON S. BRODERICK, United States District Judge:

        On May 29, 2020, the parties filed a status letter indicating that they had resolved the

outstanding issues in the case, and requesting leave to file a further status letter, which I granted

on June 1, 2020. (Doc. 44.) On June 16, 2020, I so ordered the parties’ proposed stipulation for

attorneys’ fees and costs. Accordingly, it is:

        ORDERED that on or before November 20, 2020, the parties are directed to file a joint

letter with an update as to the status of the payment, and whether the case can be closed.

SO ORDERED.

Dated: November 5, 2020
       New York, New York

                                                              ______________________
                                                              Vernon S. Broderick
                                                              United States District Judge
